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                                                    U.S. Department of Justice

                                                                United States Attorney
                                                                Southern District of New York
                                                                The Silvio J. Mollo Building
                                                                One Saint Andrew’s Plaza
                                                                New York, New York 10007

                                                                October 16, 2020

          VIA ECF
          The Honorable Paul A. Engelmayer
          United States District Judge
          Southern District of New York
          40 Foley Square
          New York, New York 10007

              Re: United States v. Enrico Pedraza, 19 Cr. 457 (PAE)

          Dear Judge Engelmayer:

                 The parties in the above-captioned matter respectfully submit this joint letter to request that
          the Court reschedule the defendant’s upcoming sentencing.

                  The defendant in the above-captioned case was charged by Complaint on January 15, 2019.
          He was arrested and presented before the Honorable Sarah Netburn on January 17, 2019. On June
          19, 2019, the Government filed an Information upon the defendant’s waiver of Indictment,
          charging the defendant with one count of conspiracy to commit bank fraud and one count of bank
          fraud, in violation of 18 U.S.C. §§ 1344, 1349, and 2. On September 12, 2019, the defendant
          pleaded guilty to the Information. In light of scheduling issues and the advent of the COVID-19
          pandemic, the defendant’s sentencing was adjourned numerous times. The parties now write the
          Court to request that the Court schedule the defendant’s sentencing for a date in mid-December,
          approximately 60 months’ hence. In light of discussions between the parties regarding the
          defendant’s schedule, and in light of ongoing health considerations due to the COVID-19
          pandemic, the parties respectfully submit that this timing is warranted.

                                                         Respectfully submitted,

                                                         AUDREY STRAUSS
                                                         Acting United States Attorney
GRANTED. Sentencing is adjourned to
January 6, 2021 at 2:30 p.m. The Clerk of
Court is requested to terminate the motion at        by: _________________________________
Dkt. No. 44.                                             Sarah Mortazavi
                                                         Assistant United States Attorney
                        10/16/2020                       (212) 637-2520
SO ORDERED.

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                                               by: __/s/_______________________________
            __________________________________ Thomas Dunn, Esq.
                  PAUL A. ENGELMAYER               Counsel for defendant Enrico Pedraza
                  United States District Judge
